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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,
Criminal NO: 09-348
Vs.

SHANE HENNEN,

Defendant.
MOTION TO TRAVEL FOR WORK

AND NOW, comes Shane Hennen, by and through his attorney, Michael J.
DeRiso, and files the within Motion to Travel for Work and in support thereof avers the
following:

1. The Defendant plead guilty to Count 1, Possession with Intent to Distribute and
Distribution of Less Than 500 Grams of a Mixture and Substance Containing a
Detectable Amount of Cocaine and Count 6, Conspiracy to Possess With Intent
to Distribute and Distribute Five (5) Kilograms or More of a Mixture and
Substance Containing a Detectable Amount of Cocaine and was sentenced to
imprisonment for thirty (30) months on September 20, 2011.

2. The Defendant resides in Penscola, Florida and supervision has been transferred
to there.

3. The Defendant's occupation is Professional Gambler.

4. The Defendant pays taxes on his gambling proceeds. A true and correct copy of

the Defendant’s 2014 Tax Return is attached hereto and marked as Exhibit “A”.
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. The Defendant is responsible for maintaining health insurance benefits for
himself and currently does so.

. The Defendant had to undergo an extensive medical procedure last year which
cost the Defendant nearly $20,000.00. Please refer to Schedule A of Defendant's
Federal Tax Return. A true and correct copy of Statement dated September 15,
2015, from Aetna regarding some of the Defendant's medical expenses is
attached hereto and marked as Exhibit “B’.

_ The Defendant has been compliant with all of the conditions of Probation.

. It is necessary for the Defendant to travel to various areas to attend certain
functions i.e. The World Series of Poker, to maintain employment and his status
in the gambling profession.

. For whatever reason, the Defendant’s current supervisor has taken the position
that the Defendant does not have a “real job” and needs to find gainful

employment.

10. The Defendant has maintained his current employment for several years and, by

virtue of the current supervision, he is being denied the opportunity to continue

earning a living.

11. The Defendant is only requesting this Court grant him the ability to travel to

various events to maintain his employment.

12. If the Court would grant this Motion, the Defendant would provide any and all

information requested by the supervising Probation Officer to verify his

whereabouts, the start date, and the end date of the event.
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WHEREFORE, the Defendant respectfully requests this Honorable Court enter
an Order allowing the Defendant to continue his employment as a professional gambler
and travel to various areas to be able to make a living.

Respectfully submitted

/s/ Michael J. DeRiso
Michael J. DeRiso, Esquire
Attorney for Defendant

